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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )            8:06CR164
                      Plaintiff,                   )
                                                   )
         vs.                                       )               ORDER
                                                   )
BRIAN VICKERS and                                  )
BARBARA VICKERS,                                   )
                                                   )
                      Defendants.                  )
         This matter is before the court on the motion to continue by defendant Barbara
Vickers (Vickers) (Filing No. 32). Vickers seeks a continuance of the trial of this matter until
the end of January 2007. Vickers's counsel represents that the co-defendant and counsel
for the government and have no objection to the motion. Upon consideration, the motion
will be granted.
         IT IS ORDERED:
         1.    Vickers's motion to continue trial (Filing No. 32) is granted.
         2.    Trial of this matter is re-scheduled for January 29, 2007, before Chief Judge
Joseph F. Bataillon and a jury. The ends of justice have been served by granting such
motion and outweigh the interests of the public and the defendant in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time between
November 27, 2006 and January 29, 2007, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason that
defendant's counsel requires additional time to adequately prepare the case. The failure
to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A)
& (B).
         DATED this 27th day of November, 2006.
                                                   BY THE COURT:
                                                   s/Thomas D. Thalken
                                                   United States Magistrate Judge
